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                                                                                          No. l5-309C                        FILED
                                                                                   (Filed: October 30, 2015)
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KEVIN P.                      FRITZ,                                                             *                        U.S. COURT OF
                                                                                                                        Feornru    Cr_niri4S
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                                                         Plaintiff,                              *     Military Pay; Nonselection for Promotion;
                                                                                                 *     Motion to Dismiss; Statute of Limitations;
 v.                                                                                              *     Accrual: Effect ofCorrection Board
                                                                                                 *     Decision: Martinez: Motion for Sanctrons
THE LINITED                           STATES,                                                    ]
                                                         Defendant.                              *
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Kevin P. Fritz, Chesterfield, VA, plq                                                 se.


Jessica R. Toplin, United States Department of Justice, Washington, DC, for defendant.

                                                                                  OPINION AND ORDER

SWEENEY, Judge

        Plaintiff Kevin P. Fritz, proceeding p1e se, is a retired major of the United States Army
("Army") Judge Advocate General's Corps.' He alleges that the Army Board for Correction of
Military Records C'ABCMR') improperly denied his applications for the conection of his
military records. Defendant moves to dismiss plaintiff s complaint as untimely, and plaintiff
moves for sanctions against defendant for defendant's purported misrepresentation of facts
alleged in the complaint. For the reasons set forth below, the court grants defendant's motion
and denies plaintiffls motion.

                                                                                      I.    BACKGROUND

       Plaintiff was commissioned as a second lieutenant in the Army Reserves in 1984, and
then promoted   to the rank offirst lieutenant in 1986.': The following year, plaintiff was
recommissioned as a first lieutenant in the Army Judge Advocate General's Corps, entering



                         '
          Although plaintiff is a licensed attomey, he is proceeding pgq 59 because he is not
admitted to practice before the United States Court of Federal Claims ("Court of Federal
Claims").
                         2 The court derives the facts in this section from plainti{P s complaint.
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active duty. Plaintiff was then promoted to the rank ofcaptain in 1988 and the rank of major in
199s.

        Plaintiff was considered, but not selected, for promotion to the rank oflieutenant colonel
by the Fiscal Year 1998 and Fiscal Year 1999 Judge Advocate Lieutenant Colonel Promotion
Selection Boards. After he was notified that he had not been selected for promotion a second
time, plaintiff reviewed his Promotion Selection Board file and discovered that it contained an
unsigned and incorrect Officers' Record Brief. He therefore requested that a Special Selection
Board reconsider him for promotion. The Army denied his request. Plaintiff thereafter was
considered, but not selected, for promotion by the Fiscal Year 2000 Judge Advocate Lieutenant
Colonel Promotion Selection Board. Instead, in 2001, he was selected for continuation on active
duty and was continued until October 31,2007, when he retired at the rank of major.

        Prior to his retirement, in January 2003, plaintiff submitted an application to the ABCMR
in which he sought the correction of his military records to reflect a promotion to the rank of
lieutenant colonel retroactive to his nonselection for promotion by the Fiscal Year 1999 Judge
Advocate Lieutenant Colonel Promotion Selection Board. He contended that the Promotion
Selection Board's decision was tainted by the erroneous Officers' Record Brief contained in his
file and by improper race and gender preference instructions. The ABCMR denied plaintiff s
application in September 2003, and notified plaintiff of its decision in October 2003.

         Nevertheless, in June 2004, a Special Selection Board was convened to determine
whether plaintiff should have been promoted by the Fiscal Year 1999 Judge Advocate Lieutenant
Colonel Promotion Selection Board. The Special Selection Board declined to recommend
plaintiff for promotion. Plaintiff received notice of that decision on November 21, 2005.

         On November 17,2008, after his retirement, plaintiff submitted a second application for
the conection of his military records to the ABCMR. In this application, plaintiff contended that
new information revealed that the ABCMR's September 2003 decision was incorrect as it related
to the inclusion ofan erroneous Ofhcers' Record Brief in his Promotion Selection Board file.
Plaintiff further alleged defects in the June 2004 Special Selection Board proceedings. In a
Much26,2009 letter, the ABCMR advised plaintiff that it considered plaintiff     s   applicalion to
be a request for reconsideration, and because the request was submitted more than one year after
the ABCMR's original decision, it was untimely. The ABCMR's letter did not address
plaintiff   s contentions regarding the June 2004 Special Selection Board.


        Plaintiff filed a complaint in this court on March 25, 2015, challenging the ABCMR's
September 2003 denial of his first application and the ABCMR's March 2009 rejection of his
second application. He seeks the correction of his military records to reflect a promotion to the
rank of lieutenant colonel retroactive to his nonselection for promotion by the Fiscal Year 1999
Judge Advocate Lieutenant Colonel Promotion Selection Board, and continuing until his
retirement, as well as all back pay and allowances that would result from such a correction.
Alternatively, plaintiff requests the conection ofthe records in his Promotion Selection Board


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file, the convening of Special Selection Boards to reconsider his promotion to the rank of
lieutenant colonel, and, ifsuch a promotion is recommended, all resulting back pay and
allowances.

        Defendant moves to dismiss the complaint as untimely. Plaintiff moves for sanctions
against defendant for defendant's purported misrepresentation offacts alleged in the complaint.
The motions are fully briefed and the court deems oral argument unnecessary.

                         II.   DEFENDANT'S MOTION TO DISMISS

                                     A. Standard      of Review

         Defendant moves to dismiss plaintiff s complaint for lack ofjurisdiction pursuant to Rule
 l2(b)(1) of the Rules of the United States Court of Federal Claims ("RCFC"). When considering
whether to dismiss a complaint for lack ofjurisdiction, a court assumes that the allegations in the
complaint are true and construes those allegations in the plaintiff s favor. Henke v. United
States, 60 F.3d 795, 797 (Fed. Cir. 1995). Plaintiffs proceeding plq se are not excused from
meeting basic jurisdictional requirements, |d. at 799, even though the court holds their
complaints to "less stringent standards than formal pleadings drafted by lawyers," Haines v.
Kemer,404 U.S. 519, 520-21 (1974.3 In other words, a plaintiff proceeding plq se must prove,
by a preponderance ofthe evidence, that the court possesses jurisdiction. See McNuttv. Gen.
Motors Acceptance Corp., 298 U.S. 178, 189 (1936); Reynolds v. Army & Air Force Exch.
 Serv., 846 F.2d746,748 (Fed. Cir. 1988). If the court finds that it lacks subject matter
jurisdiction over a claim, RCFC 12(hX3) requires the court to dismiss that claim.

                         B. Jurisdiction and the Statute of Limitations

        Whether the court has jurisdiction to decide the merits ofa case is a threshold matter. See
Steel Co. v. Citizens for a Better Env't, 523 U.S. 83,94-95 (1998). "Without jurisdiction the
court cannot proceed at all in any cause. Jurisdiction is power to declare the law, and when it
ceases to exist, the only function remaining to the court is that of announcing the fact and
dismissing the cause." Ex parte McCardle, 74 U.S. (7 Wall.) 506, 514 (1868). The parties or the
court sua sponte may challenge the existence of subject matter jurisdiction at any time. Arbaugh
v. Y & H Com., 546 U.S. 500, 506 (2006).


        3 As noted above, plaintiff is a licensed atlomey who served in the Army Judge Advocate
General's corps. He therefore is not a typical p1q se litigant. Nevertheless, the court recognizes
that "[e]ven a skilled lawyer who represents himself is at a disadvantage in contested litigation"
because "[h]e is deprived ofthejudgment ofan independent third party in framing the theory of
the case, evaluating alternative methods ofpresenting the evidence, cross-examining hostile
witnesses, formulating legal arguments, and in making sure that reason, rather than emotion,
dictates the proper tactical response to unforeseen developments in the courtroom." Kay v.
Ehrler,499 U.S.432, 437 (1991).

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        The ability ofthe Court ofFederal Claims to entertain suits against the United States is
limited. "The United States, as sovereign, is immune from suit save as it consents to be sued."
United States v. Sherwood, 312 U.S. 584, 586 (1941). The waiver of immunity "cannot be
implied but must be unequivocally expressed." United States v. King, 395 U.S. l,4 (1969).
Further, "[w]hen waiver legislation contains a statute of limitations, the limitations provision
constitutes a condition on the waiver of sovereign immunity." Block v. North Dakota ex rel. Bd.
ofUniv. & Sch. Lands,461 U.S. 273,287 (1983).

         The Tucker Act, the principal statute governing thejurisdiction of this court, waives
sovereign immunity for claims against the United States that are founded upon the Constitution,
a federal statute or regulation, or an express or implied contract with the United States. 28
U.S.C. $ 1491(a)(1) (2012). However, the Tucker Act is merely a jurisdictional statute and "does
not create any substantive right enforceable against the United States for money damages."
United States v. Testan,424U.5.392,398 (1976). Instead, the substantive right must appear in
another source of law, such as a "money-mandating constitutional provision, statute or regulation
that has been violated, or an express or implied contract with the United States." Loveladies
Harbor. Inc. v. United States,27 F.3d 1545, 1554 (Fed. Cir. 1994) (en banc). In addition, to fall
within the court's jurisdiction, any claim against the United States filed in the Court of Federal
Claims must be "filed within six years after such claim first accrues." 28 U.S.C. $ 2501; see also
John R. Sand & Gravel Co. v. United States, 552 U.S. 130, 133-35 (2008) (providing that the
limitations period set forth in 28 U.S.C. $ 2501 is an "absolute" limit on the ability of the Court
of Federal Claims to reach the merits of a claim).

                      C. Plaintiff s Claim Arises Under 37 U.S.C. S 204

        In his complaint, plaintiff challenges the ABCMR's September 2003 denial of his first
application and the ABCMR's March 2009 rejection of his second application. He contends that
had the ABCMR properly acted on his applications, he would have been selected for promotion
to the rank of lieutenant colonel. And, with such a promotion, plaintiffwould have been entitled
to a higher rate ofpay and presumably would not have been continued on active duty and then
retired. Plaintiff s allegations amount to a claim that he was improperly retired from the Army
with a rank lower than the one to which he was entitled. See Martinez v. United States, 333 F.3d
1295,1314 (Fed. Cir. 2003) (en banc) ("Because [the plaintiff] is entitled to monetary reliefonly
if he can show that he was improperly separated, a suit in the Court ofFederal Claims that
purports to challenge the conection board decision is in essence an action challenging his
separation."). Such a claim arises under 37 U.S.C. $ 204,the statute that govems military service
members' entitlement to basic pay while they are on active duty. See Smith v. Sec'v of the
Army, 384 F.3d 1288, 1294 (Fed. Cir. 2004) ("[A]n action for money arises under [37 U.S.C.
$ 204] when the decision not to promote the service member leads to the service member's
compelled discharge. If, in such a case, the effect of an order voiding the nonpromotion decision
would be to give the service member a right to continue in the service at his previous rank, he
would have a claim for the pay lost because ofhis improper separation."); Roth v. United States,
378 F.3d 1371, 1384 (Fed. Cir. 2004) ("In order to bring [an involuntary separation case under 37


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U.S.C. $ 2041 in the Court ofFederal Claims, the plaintiff must allege that because the separation
was unlawful, he or she is entitled to the pay that would have been received but for the unlawful
action."); Holle), v. united states, 124 F .3d, 1462, 1465 (Fed. Cir. 1997) ("37 U.S.C. $ 204
'confers on an officer the right to the pay ofthe rank he was appointed to up until he is properly
separated from the service"' (quoting Sanders v. United States,594F.2d 804, 810 (1979) (en
banc), abrogated in part on other grounds by Defense Officer Personnel Management Act, Pub.
L. No.96-513, S 105,94 Stat.2835,2859-60 (1980) (codified as amended ar l0 U.S.C. g 628(b)
(2000)))); see also Metz v. United States, 466 F.3d 991,998 (Fed. Cir. 2006) (noring that 37
U.S.C. $ 204 is a money-mandating statute).

                                 D. Plaintiff s Claim Is Untimely

       "A   cause  ofaction cognizable in a Tucker Act suit accrues as soon as all events have
occurred that are necessary to enable the plaintiffto bring suit, i.e., when'all events have
occuned to fix the Government's alleged liability, entitling the claimant to demand payment and
sue here for his money."' Martinez, 333 F.3d at 1303 (quoting Nager Elec. Co. v. United States,
368 F.2d 847,851 (Ct.Cl. 1966D. Consequently, as the United States Court ofAppeals for the
Federal Circuit held in Martinez, a claim for back pay arising under 37 U.S.C. $ 204 accrues no
later than the date on which the service member was separated from the military. See id. at 1303-
04; accord Roth, 378 F.3d at 1384 ("[A]n involuntarily discharged or mandatorily retired officer
must bring his or her Tucker Act action in the Court of Federal Claims within six years of the
date of discharge or retirement.").

         After the Army did not select him for promotion to the rank of lieutenant colonel,
plaintiff was continued on active duty until his retirement on October 31,2007. By that date, all
of the events fixing the Army's liability for back pay under 37 U.S.C. g 204 had occuned-
plaintiffhad not been selected for promotion and the Army had reieased him from active duty.
Thus, plaintiff s claim for back pay under 37 U.S.C. $ 204 accrued no later than October 3 I ,
2007, rendering his complaint, filed more than six years later, untimely under 28 U.S.C. g 2501.

         Plaintiff, seeking to avoid this result, advances two arguments. First, he contends that the
holding in Martinez regarding the accrual date ofa claim for back pay is inapplicable to his
circumstances because the plaintiff in Martinez alleged an improper discharge, and he was
retired, not discharged, from the Army. Plaintiff is correct that retirement is different from
discharge. However, for the purposes ofhis present claim, his parsing of terminology raises a
distinction without a difference. A claim for back pay under 37 U.S.C. $ 204 accrues upon a
service member's release from active duty regardless ofwhether the release was due to
retirement or discharge. See. e.g., Roth, 378 F.3d at 1384 ("[A]n involuntarily discharged or
mandatorily retired officer must bring his or her Tucker Act action in the Court ofFederal Claims
within six years ofthe date ofdischarge or retirement."); Martinez,333 f.3d at 1313 ("The cause
ofaction in [the plaintiffls] Tucker Act suit was for the denial ofmoney; that cause ofaction
therefore accrued when he was separated from active duty and his monetary injury began.");
Adkins v. United States, 68 F.3d 1317,1321 (Fed. Cir. 1995) (noting that the plaintiff, a retired
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Army officer, was entitled to basic pay under 37 U.S.C. g 204 prior to his retirement, and holding
that if the plaintiffs "discharge was voluntary and improper, [his] statutory right to pay was not
extinguished, and thus serves as a basis for Tucker Act jurisdiction"); see also Brownfield v.
United States, 589 F.2d 1035, 1038-40 (Ct. Cl. 1978) (holding that the plaintiff s claim that he
was wrongfully denied a promotion prior to his retirement accrued on the date that he was finally
denied that promotion-the date ofhis retirement at the lower rank); Coon v. United States, 30
Fed. Cl. 531, 540 ("[]n wrongful denial of promotion cases, the claim accrues at the time the
plaintiff is first and finally denied a promotion. . . . By the date of retirement, at the very least,
all events had occurred fixing the govemment's potential liability for a wrongful denial of
promotion. . . . [P]laintiffs wrongful denial of promotion claim accrued, at the latest, . . . upon
discharge."), aff d oer curiam,4l F.3d 1520 (Fed. Cir. 1994) (mem.). Plaintiff s contention that
the holding in Martinez does not apply to his circumstances therefore lacks merit.

         Plaintiff s second argument is equally unavailing. Plaintiff contends that his claim did
not accrue until the ABCMR rejected his second application in March 2009. However, it is well
settled that in the pursuit ofback pay based on an improper release from active duty,

       correction boards have been regarded as a permissive administrative remedy and
       that an application to a correction board is therefore not a mardatory prerequisite
       to filing a Tucker Act suit challenging the discharge. Accordingly, the failure to
       seek relief from a correction board not only does not prevent the plaintiff from
       suing immediately, but also does not prevent the cause ofaction from accruing.

Martinez, 333 F.3d at 1304 (citations omitted); accord id. ("[I]n Tucker Act suits, a plaintiff is
not required to exhaust a permissive administrative remedy before bringing suit. As a corollary
ofthat rule, . . . a plaintiffs invocation of a permissive administrative remedy does not prevent
the accrual of the plaintiffls cause ofaction, nor does it toll the statute of limitations pending the
exhaustion of that administrative remedy."); Antonellis v. United States ,123 F .3d 1328, l3 33
(Fed. Cir. 2013) ("[T]here is generally no requirement that a plaintiff exhaust remedies with the
applicable Conections Board before filing suit in the Claims Court . . . ."). Further, an
application to a correction board does not create a new Tucker Act cause ofaction with a
separate accrual date. Martinez, 333 F.3d at 1312; accord id. at 1311 ("[T]he cause of action for
back pay stemming from [the plaintiffs] separation from active duty first accrued on the date of
his separation from active duty. It did not accrue for a second time when the Conection Board
refused to grant [the plaintiffs] request for relief, including back pay to the date ofhis
separation."), I 3 13 ("[The plaintiff s] cause of action did not accrue when the Conection Board
declined to overtum his separation, because that action did not cause him monetary injury, but
merely failed to remedy the injury he had previously suffered."). Because plaintiff was not
required to seek relief from the ABCMR, his November 2008 application to the ABCMR neither
prevented the accrual of his claim nor tolled the statute of limitations. And, the ABCMR's
March 2009 rejection of that application did not create a new cause ofaction with its own accrual
date. Plaintiffs claim accrued on October 31.2007. the date ofhis retirement.



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                       III.   PLAINTIFF'S MOTION FOR SANCTIONS

        The court's resolution of defendant's motion to dismiss bears directly upon plaintiffs
motion for sanctions. In his motion, plaintiff asserts that defendant mischaracterized certain
allegations in his complaint. Specifically, plaintiff objects to defendant's use ofthe term
"discharge," because, in fact, he was retired from active duty, and contends that defendant used
the term "discharge" to improperly shoehorn the allegations in his complaint into the factual and
legal framework of Ma(inez. Plaintiff brings his motion under RCFC 11, which obligates
attomeys to ensure that their filings are not being presented to the court for an improper purpose,
and that the representations in those filings are factually and legally sound.a See RCFC 1 1(b).
To avoid running afoul ofRCFC 11, attorneys must engage in a factual and legal inquiry,
reasonable under the circumstances, prior to presenting filings to the court. Id.

        As reflected above, defendant correctly relied upon Martinez for the proposition that a
claim for back pay arising under 37 U.S.C. $ 204 accrues no later than the service member's
improper separation from the military. Although Martinez is a military discharge case, its
holding is equally applicable to situations in which the improper separation is a retirement rather
than a dischaxge. See Roth,378 F.3dat 138a ("[A]n involuntarily discharged or mandatorily
retired officer must bring his or her Tucker Act action in the Court of Federal Claims within six
years ofthe date ofdischarge or retirement."); Martinez, 333 F.3d at 1313 ("The cause ofaction
in [the plaintiffs] Tucker Act suit was for the denial ofmoney; that cause ofaction therefore
accrued when he was separated from active duty and his monetary injury began."); Adkins, 68
F.3d at 1321 (noting that the plaintiff, a retired Army officer, was entitled to basic pay under 37
U.S.C. S 204 prior to his retirement, and holding that if the plaintiffs "discharge was voluntary
and improper, [his] statutory right to pay was not extinguished, and thus serves as a basis for
Tucker Act jurisdiction"). Thus, defendant's use ofthe term "discharge"-while technically



         " If a party believes that an opponent violated RCFC I 1(b) and should be sanctioned as a
result, it may prepare a motion "describIing] the specific conduct that allegedly violates RCFC
I 1(b)" and serve that motion on its opponent. RCFC 1 I (c)(2). After twenty-one days, the parfy
may file the motion with the court, but only if its opponent has not "withdrawn or appropriately
corrected" the alleged violation. Id. The service requirement in this safe harbor provision is
strictly construed. See Coastal Enrtl. Gm.. Inc. v. United States, 118 Fed. Cl. 15,29 (2014)
(citing supporting decisions). Plaintiff served his motion for sanctions on defendant on July 17,
20i5. Defense counsel responded to plaintiffby letter, dated luJy 24,2015, indicating
defendant's position that sanctions were not appropriate. Plaintiff filed his motion with the court
on August 3,2015, seventeen days after serving the motion on defendant. Although plaintiff did
not wait twenty-one days before filing the motion with the court, the court will not dispose of
plaintiff s motion on this ground, for two reasons. First, defense counsel formally advised
plaintifl in her July 24, 2015 letter, ofdefendant's position that there was no basis for sanctions,
effectively declining the opportunity created by the safe harbor provision to conect the purported
violation. Second, defendant did not raise the violation ofthe service requirement in its response
in opposition to plaintiffs motion for sanctions.

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inaccurate-is legally inconsequential under   tle   circumstances presented in this case.s There is no
RCFC 1 I violation.

                                       IV. CONCLUSION
        For the foregoing reasons, the court DENIES plaintifP s motion for sanctions and
GRANTS defendant's motion to dismiss plaintiff s complaint for lack of subject matter
jurisdiction. PlaintifPs complaint is DISMISSED without prejudice. No costs. The clerk is
directed to enter judgment accordingly.

       IT IS SO ORDERED.




        s Indeed, even courts use the term
                                              "discharge" when referring to retired service members.
See. e.9., Stqith, 384 F.3d at 1296 (addressing the possibility that the plaintifPs retirement could
be characterized as an "involuntary discharge[]" (emphasis added)); Adkins,68 F.3d at 1321
(holding, with respect to tle plaintiff, a retired Army officer, that ifthe plaintiffs "disghalgg was
voluntary and improper, [his] statutory right to pay was not extinguished, and thus serves as a
basis for Tucker Act jurisdiction" (emphasis added)); Coon, 30 Fed. Cl. at 540 ("By the date of
retirement, at the very least, all events had occuned fixing the govemment's potential liability for
a wrongful denial of promotion. . . . p]laintiff s wrongful denial of promotion claim accrued, at
the latest, . . . upon discharge." (emphasis added).
